        Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 1 of 8 PageID #:29
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                            I.JNITED STATES DISTRICT COURT
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                                                                                           . BRUTO N
                            NORTHERN DISTRICf, OF ILLINOIS                    THOMA.SDG  IS TRICT COUR
                                                                                                       T
                                                                           CLER K , U .S
                                    EASTERN DIVISION



Dexter Harris




                                                    1 :1   8-cv-01 820
@nter above the full name
of the plaintifforplaintiffs in                     Judge Robert W. Getileman
this action)                                        Magistrate Judge Daniel G. Martin
                                                    PC.1
                                              Cass..,.r.
                                              (To b€ supplied by the Clerk of this              Court)
 Michael Kelley
Barbara Gordon

Jason Prokop

Derek Coppes                                                      RE9FIY,WN
Jacob Deane
                                                                         {itnn   I   3   2018

                                                                      THOMAS G. tsRUTON
 Matthew Ch ristopher Cortese                                     CLERK, U.S. DISTRICT COURT
(Enter abovethe fuU name of ALL
defendants in this action. Do not
$se   "e!.d.:)

CHECK OIVE ONLY

  X              COMPLAINTT]NDERTHECIVILRIGHTSACT,TITLE4?SECTIONl9S3
                 U.S. Code (state, county, or municipal defendants)

                 coMpLAINT LINDER TIrE CONSTITUTTON ("Bfl{ENSil ACTTOT$, TITLE
                 28 SECTION 1331 U.S. Code (federal defendants)

                 OTHER (cite statute, if known)

BEFONZ  FIUIXG OT|T THIS COMPI.AINT, PLEASE REFER TO "INSTRAqTIONS FOR
FILING." FOLLOW THESE INSTRACTIONS CAREFULLY.
     Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 2 of 8 PageID #:29



L    Plaintilf(s):

     A.      Name: Fexter        Harlis                                                    -...

     B.      List all aliases:

     C.      Prisoneridentification number: Prison LD #M18166- zOtZ-OOOOSSSA

     D.      Place ofpresent     confinement' will County Jail
                      95 South Chicago Street
     E.      Address: Joliet.lllinois 60432                      ---.   ..-.


     (fthere   is more than one plaintitr, then each plaintiffmust list his or her name, aliases, I.D.
     number, place of confinement, and current address according to the above format on a
     separate slreet of paper.)

IL   I]efendnnt(s):
     (ln A below, place the full name of the first defendant in the first blank, his or her official
     position in the second blank, and his or her place of employment in the third blank. Space
     for two additional defendants is provided in B and C.)

      A.       Defendanr Michael Kelley

               Title: Will County Sheritf
                                                                               4

                                                              Office           ';
               Place ofEmployment: Will County Sheriffs

      B.       Defendant: Barbara Gordon

               Title: Lieutenant Deputy Coordinator
               Place of   Employmtol' Will County Jail

      C.       Defendant: Jason Prokop

               Title:   Deputy Correctional Sergeant of ERT

               Place of   Emplolm"n   '   Will County Jail

      0f you have more than three defendants, then all additional          defendants must be listed
      according to the above format on a separate sheet of paper.)




                                                                                           Rpvited 9/2007
Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 3 of 8 PageID #:29




 II.   Defondant(s):




       D. Defendant Derek      Coppes

          Title: ERT Officer

          Place of Employment     Wilt County Jail




       E. Defendant:   Jacob Deane

          Title: ERT Officer

         Place of Employment     Will County Jail



       F. Defendant: Matthew Christopher Cortese

         Title: ERI Officer

        Place of Employment      Will Cormty Jail
       Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 4 of 8 PageID #:29



III.    List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any strte or federal
        court in the Uuited States:

        A.     Name of case and docket number:


        B.     Approximate date of filing lawsuit:

        C.     List all plaintiffs (if you had co-plaintiffs), including any aliases:




        D.    List all defendants:




        E.    Court in which the lawsuit was filed (if federal court, name the dJstict; if state court,
              name the county)i
                                     -
        F.    Name ofjudge to whom case was assigned:


        G.    Basic claim made:




        H.    Disposition of this case (for example: was the case dismissed? was it appealed?
              Is it still pending?):




              Approximate date of disposition:


IF YOU HAllE FILED MORE THAIY OI\IE LAWSUIT, TIIEN YOU MUST
                                                            DESCRIBE TIIE
ADDITIONAL LAWSUITS ON A}IOTIM,R PIECi, OF PAPER, USING THIS SAME
F'ORMAT. REGARDLESS OF HOW II{AI\TY CASES YOU HAVE PREVIOUSLY
                                                                   FILED,
YOU WILL NOT BE EXCUSED ['ROM X'ILLING OUT TIIIS SECTION
                                                            COMPLETELY;
AIYD FAILURE TO DO SO IUAY RESULT IN DISIUISSAL OX'YOUR
                                                               CASB. CO-
PLAINTTFFS MUST ALSO LIST ALL CASES THEY HA\M T'ILED.




                                                                                          RcYLrd 9/2007
        Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 5 of 8 PageID #:29




           IV. Statement of Claim

               State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates and places. Do not give any legal arguments or cite any case statutes.
If you intend to allege a number of related claims, number and set forth each claim in a separate
paragraph. (Use as much space as you need. Attach extra sheets if necessary.)


The sole purpose of my claim is of the fact that ERI Officer Derek Coppes unnecessarily and
unlawfully used excessive force on me. The excessive use of force consisted of the fact that ERI
Officers Matthew Christopher Cortese and Jacob Deane held my legs, torso, and my arms behind my
back. While ERT Offrcer Derek Coppes viciously struck my left eye, my left eye area and the left side
of my mouth with a closed fist. He struck me so many times that I lost count. After ERT Officer Derek
Coppes struck me with his closed fist he immediately started knee striking me in the area of my left
eye. Then ERT Officer Derek Coppes lost all control and jumped on my back and started choking me
so hard that I just knew I was going to die because I've never experienced the unconscionable state of
mind of a deathly throe by a choke hold. I feel like Itll never recover from this incident from a general
stand point. I've developed some kind of uncontrollable twitch in I've never had before prior to this
incident. I swear it seem like when ERT Officer Derek Coppes was assaulting me the rest of the staff
was just standing there watching to see how far he would go. When ERT Offrcer Derek Coppes
released his choke hold on me he grabbed my testicles and twist them. Then I was sprayed with O.C.
For the record this incident of the incident report #2018-000000921#2018-00000094 happen in the day
room on camera on I-Pod in Will County Jail on 1-9-2018. Video andAudio Communication and Brass
Communication is available because I requested for the preservation of it through The Freedom of
Information Act of this incident. I never resisted not one time through this whole ordeal. I have
documents authorized by staffhere with conflicting stories with a great deal of contradiction in which
some documents indicate that I was never touched while other documents indicate that I was kneed in
the face. I knew for a fact that I was a dead man if I would've been in my cell when the ERT came on I-
Pod because there no cameras inside the cells. ERI of Will County are known to kill and to try to kill
people in this jail. The ERT gave me one order to get down in which I was in the process of doing so.
Then they grabbed me and had their way with me which is the basis of my litigation claim. With in my
claim is against the supervising staffthat consist of Michael Kelley, Barbara Gordon and Jason Prokop
for the inadequacy of the supervision of their ERT Officer's Code of Ethics along with their Code of
Conduct. As well as in failing to adequately train their ERI Offrcers due in part to the atrocities of their
ERT Offrcer's conduct in the field when they injured me. With in my claim is against ERT Offrcers
Derek Coppes, Jacob Deane and Matthew Christoper Cortese for Aggravated Assault, Cruel and
Unusual Punishment, Violation of my Due Process, Unlawful Excessive Use of Force, Sexual Abuse,
Unethical practices, Unethical Code of Conduct.
      Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 6 of 8 PageID #:29



V,    Relief:

       State briefly exactly what you want the court to do for   you. Make no legal arguments. Cite
       no casies or stahttes.

I w-q!l!!o-99-gr-grted   Three Million Dollars of l].S. Currency for my litigation claim against

Will County, Will County Jail and the individuals l've named in this claim. For the physical

 injuries I've sustained , the psychological beating I had to endure and for the emotional

stress I have to endure for the rest of my life because of this incident. These officers made

me squealfor my life.




VI.    Theplaintiffdemandsthatthecasebetriedbyajury.               ts YES n              NO



                                                           CERTIFICATION

                                By signing this Complaint,      I certifu that the facts stated in this
                                Complaint are tme to the best of my knowlcdge, information and
                                belief. I understand that if this certification is not correct I may be
                                subject to sanctions by the Court.

                                Signed   this   29th    day   of January ,2018_


                                Daxtar tlawis
                                (Signatue of plaintiff or plaintiffs)
                                 Dexter Harris

                                @rint name)
                                 201   7-00008356
                                (I.D, Number)


                                 95 South Chicago Street

                                  Joliet, lllinois 60432

                                (Address)


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                Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 7 of 8 PageID #:29

                                                Sheriff's Office
                                          UUill GounQr
                                      Adult Detention Division
                                 95 S. Ghicago St. Joliet, lL etl4il6
                             Phone (8{5) 7{$5633 Fax (8{5) 7{Q.5533

January 26,2018

Dexter Harris
95 S Chicago St
Joliet IL 60436

Dear Mr. Harris:

Thank you for writing to the Will County Sheriffs Office with your request for information pursuant to the Illinois
Freedom of lnformation Act, 5 LCS 140/l et seq.

On January 22   &   January 23,2018, we received your request for the following;

      o   Preservation of the audio and video communication.
      o   Brass communication
      o   Email Logs of Incident Reports of Incident Number 2018-00000092 of incident on l-9-18 @ 1530.

Your request is granted in part and denied in part as follows:

Included with this response is email communication regarding the incident in question, also included is your inmate
activity log and copies of the reports. The requested information is enclosed, no records have been removed, however, we
have redacted unique identifiers as "Private information" means unique identifiers, including a person's social security
number, drivefs license number, employee identification number, biometric identifiers. personal financial information,
passwords or other access codes, medical records, home or personal telephone numbers, and personal email addresses.
Private information also includes home address and personal license plates, except as otherwise provided by law or when
compiled without possibility of attribution to any person.

Video does exist regarding an incident in IPOD involving you on the date requested and has been preserved, however we
are unable to provide you with any copies at this time. Allowing copies of our video showing procedures of how we
conduct contact visits, security devices used, internal lay out of the jail, or potential blind spots from the facility camera
system could put other detainees as well as staffmembers in danger. We denied this portion of your request under section
5 U-CS ru0/l(l)(e) records that relate to or affect the security of correctional institutions and detention facilities.


You have a right to have the denial of your request reviewed by the Public Access Counselor (PAC) at the Offrce of the
Illinois Afforney General. 5 LCS 14019.5(a). You can file your Request for Review with the PAC by writing to:

You have a right to have the denial of your request reviewed by the Public Access Counselor (PAC) at the Office of the
Illinois Attorney General. 5 ILCS ru0/9.5(a). You can file your Request for Review with the PAC by writing to:

        Public Access Counselor
        Office of the Attorney General
        500 South   2od   Sheet
        Springfield, Illinois 627 06
        Fax:217-782-1396
        E-mail: publicaccess@atg.state.il.us
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              Case: 1:18-cv-01820 Document #: 8 Filed: 04/02/18 Page 8 of 8 PageID #:29


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